   Case 3:22-cv-00027-YY        Document 6   Filed 02/02/22   Page 1 of 3




Michael Fuller, OSB No. 09357
OlsenDaines
US Bancorp Tower
111 SW 5th Ave., Suite 3150
Portland, Oregon 97204
michael@underdoglawyer.com
Direct 503-222-2000

Robert S. Sola, OSB No. 844541
Robert S. Sola, P.C.
1500 SW First Avenue, Suite 800
Portland, Oregon 97201
rssola@msn.com
Telephone 503-295-6880

Kelly D. Jones, OSB No. 074217
kellydonovanjones@gmail.com
Direct 503-847-4329

Attorneys for Plaintiff



                UNITED STATES DISTRICT COURT

                          DISTRICT OF OREGON

                          PORTLAND DIVISION



LIZBETH HANSEN                         Case No. 3:22-cv-00027-YY

                    Plaintiff          NOTICE OF DISMISSAL

      vs

WELLS FARGO BANK N.A.

                    Defendant




NOTICE OF DISMISSAL – Page 1 of 3
  Case 3:22-cv-00027-YY   Document 6    Filed 02/02/22      Page 2 of 3




                    NOTICE OF DISMISSAL

      Under FRCP 41 this action is dismissed.


February 2, 2022

                               RESPECTFULLY FILED,

                               s/ Michael Fuller
                               Michael Fuller, OSB No. 09357
                               OlsenDaines
                               US Bancorp Tower
                               111 SW 5th Ave., Suite 3150
                               Portland, Oregon 97204
                               michael@underdoglawyer.com
                               Direct 503-222-2000

                               Of Attorneys for Plaintiff




NOTICE OF DISMISSAL – Page 2 of 3
  Case 3:22-cv-00027-YY    Document 6    Filed 02/02/22      Page 3 of 3




                   CERTIFICATE OF SERVICE

      I caused this document to be served on all parties via the CM/ECF

system.


February 2, 2022

                                s/ Michael Fuller
                                Michael Fuller, OSB No. 09357
                                OlsenDaines
                                US Bancorp Tower
                                111 SW 5th Ave., Suite 3150
                                Portland, Oregon 97204
                                michael@underdoglawyer.com
                                Direct 503-222-2000

                                Of Attorneys for Plaintiff




NOTICE OF DISMISSAL – Page 3 of 3
